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                         BMW OF NORTH AMERICA, LLC
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                                                    UNITED STATES DISTRICT COURT
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                                                 NORTHERN DISTRICT OF CALIFORNIA
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                         NEAL ADAMS,                               Case No.
                    13
                                             Plaintiff,            [Removed from Alameda County Sup. Ct.
                    14                                             Case No. RG21115137]
                                      vs.
                    15                                             CORPORATE DISCLOSURE
                         BMW OF NORTH AMERICA, LLC; and            STATEMENT OF DEFENDANT BMW
                    16   DOES 1 through 30, inclusive,             OF NORTH AMERICA, LLC, AND
                                                                   CERTIFICATION OF INTERESTED
                    17                       Defendants.           PARTIES

                    18                                             [Notice of Removal; Civil Cover Sheet; Notice
                                                                   of Appearance; Declaration of Mark W. Allen
                    19                                             filed concurrently herewith]
                    20                                             Complaint Filed: October 7, 2021
                                                                   Complaint Served: October 8, 2021
                    21                                             Trial Date:       None Set

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                                        Case No.
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                CORPORATE DISCLOSURE STATEMENT OF DEFENDANT BMW OF NORTH AMERICA, LLC,
                         DB2/ 37027228.2        AND CERTIFICATION OF INTERESTED PARTIES
                               Case 3:21-cv-08687-LB Document 3 Filed 11/08/21 Page 2 of 3



                     1           TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD,

                     2   PLEASE TAKE NOTICE OF THE FOLLOWING:

                     3           CORPORATE DISCLOSURE STATEMENT OF DEFENDANT

                     4   BMW OF NORTH AMERICA, LLC

                     5           1.     BMW of North America, LLC (“BMW NA”) is a privately held Delaware limited

                     6   liability company with its principal place of business located in Woodcliff Lake, New Jersey.

                     7   BMW NA is a member-managed limited liability company, and is a wholly owned subsidiary of

                     8   BMW (US) Holding Corporation, which is the sole member of BMW NA. BMW (US) Holding

                     9   Corporation is a privately held Delaware corporation with its principal place of business located in
                    10   Woodcliff Lake, New Jersey. BMW (US) Holding Corporation is a wholly owned subsidiary of

                    11   BMW AG. BMW AG is a publicly held German corporation with its principal place of business

                    12   located in Munich, Germany. No parent corporation or publicly held corporation owns 10% or

                    13   more of BMW AG’s stock.

                    14           2.     Pursuant to Federal Rule of Civil Procedure Rule 7.1(b)(2), BMW NA will promptly

                    15   file a supplemental disclosure statement if any required information changes.

                    16   CERTIFICATION OF INTERESTED PARTIES

                    17           3.     Please take notice that, pursuant to Federal Rule of Civil Procedure 7.1, the

                    18   undersigned counsel of record for Defendant BMW of North America, LLC, certifies that the

                    19   following listed parties may have a pecuniary interest in the outcome of this case.              These
                    20   representations are made to enable the Court to evaluate possible disqualification or recusal.

                    21                  a.     Defendant BMW of North America, LLC; and

                    22                  b.     Plaintiff Neal Adams.

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MORGAN, LEWIS &
 BOCKIUS LLP                                                       1                                Case No.
 ATTORNEYS AT LAW
  SAN FRANCISCO                 CORPORATE DISCLOSURE STATEMENT OF DEFENDANT BMW OF NORTH AMERICA, LLC,
                         DB2/ 37027228.2
                                                AND CERTIFICATION OF INTERESTED PARTIES
                             Case 3:21-cv-08687-LB Document 3 Filed 11/08/21 Page 3 of 3



                     1          4.      BMW NA will promptly file an amended certification if any additional interested

                     2   parties are identified, or if any material change occurs in the status of these interested parties.

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                     4   Dated: November 8, 2021                             MORGAN, LEWIS & BOCKIUS LLP
                                                                             Molly Moriarty Lane
                     5
                                                                             Mark W. Allen
                     6                                                       Kevin M. Benedicto

                     7                                                       By: /s/ Mark W. Allen
                                                                                  Mark W. Allen
                     8

                     9                                                             Attorneys for Defendant
                                                                                   BMW of North America, LLC
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MORGAN, LEWIS &
 BOCKIUS LLP                                                       2                                Case No.
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                                                AND CERTIFICATION OF INTERESTED PARTIES
